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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                      Case No. 11-20492
         Plaintiff,
                                                      Honorable Nancy G. Edmunds
v.

D-1 OBIEL LUNA-SANTILLANES, D-2
ZIMIRI JIMENEZ, D-3 JOSE CHAVIRA-
VELAZQUEZ,

         Defendants.
                                          /


    OPINION AND ORDER (1) GRANTING GOVERNMENT’S MOTION TO ALLOW
  FINGERPRINTING [40]; AND (2) DENYING DEFENDANT LUNA-SANTILLANES’S
         AND DEFENDANT JIMENEZ’S MOTIONS TO SUPPRESS [38, 39]


     On August 4, 2011, the grand jury returned an indictment against Defendants charging

them with (1) a conspiracy to distribute heroin and cocaine, (2) possession with intent to

distribute heroin, and (3) possession with intent to distribute cocaine. This criminal matter

comes before the Court on the following motions:

     (1) the government’s motion to allow for fingerprinting [40];

     (2) Defendant Obiel Luna-Santillanes [D-1]’s motion to suppress evidence [38]; and

     (3) Defendant Zimiri Jimenez [D-2]’s motion to suppress evidence [39].

Because the government’s motion to allow for fingerprinting is well-founded and for the

reasons stated at the March 20, 2012 hearing, the government's motion is GRANTED with

the understanding that the government will attempt to comply with D-1's request for the use

of a pseudonym. For the reasons stated more fully below, Defendants Luna-Santillanes’s
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and Jimenez’s motions to suppress evidence based on the government’s use of GPS

tracking devises on a red Lincoln Aviator, a silver Chrysler Sebring, and a black Mazda are

DENIED.

I.   Background

     On March 4, 2011, DEA task force officer (TFO) Todd Murray received information

from a confidential source (CS) about “Seymour LNU,” a person eventually identified (and

referenced here) as Defendant Zimiri Jimenez (D-2). According to the CS, D-2 was using

cell phone number 313-254-6219 (Phone-1) and driving a red Lincoln Aviator for drug

deliveries. (Gov’t Ex. 1.)

     On March 11, 2011, the CS told TFO Murray that, according to D-2, the drugs were

expected within a few days. (Gov’t Ex. 2, ¶ 11.)

     On March 15, 2011, TFO Murray obtained a search warrant for latitude/longitude

location information for Phone-1 for a 30-day period. (Gov’t Ex. 2.)

     On March 22, 2011, before any GPS devices were placed on any cars at issue here,

DEA TFOs conducted surveillance at a residence located on Stoner Street in River Rouge,

Michigan – a location identified as being used by D-1 and members of his drug trafficking

organization. (Gov’t Exs. 3, 6.) The TFO’s observed two vehicles at the River Rouge

residence: (1) a red Lincoln Aviator registered to Donnita Cleveland of Highland Park,

Michigan; and (2) a silver Chrysler Sebring without a license place that was registered to

Santos Martinez-Guerrero of Detroit, Michigan. (Gov’t Exs. 3 and 10.)

     On March 23, 2011, the CS called Phone-1, spoke to D-1, and ordered a sample of

heroin. (Gov’t Ex. 4.) D-1 directed the CS to a parking lot in the area of Verner and I-75

in Detroit, Michigan and told the CS that his “associate” would deliver the sample. (Id.)

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After doing as directed, the CS and an undercover TFO met with D-2, who arrived in a

silver Sebring and gave the heroin sample to the CS. The silver Chrysler Sebring that D-2

was driving is believed to be the same vehicle observed on March 22, 2011 at the River

Rouge residence. (Gov’t Exs. 3, 4.)

     On March 24, 2011, TFO Murray once again observed the red Lincoln Aviator and the

silver Chrysler Sebring at the River Rouge residence. (Gov’t Ex. 3.)

     On April 11, 2011, TFO Murray was conducting physical surveillance of D-1 while

monitoring the location information on Phone-1. During that surveillance, Phone-1 showed

it was in the area of Vernon Street in Huntington Woods. TFO Murray went to 11 Mile and

Coolidge in Huntington Woods, Michigan and observed D-1 driving the red Lincoln Aviator

going south on Coolidge and getting on eastbound I-696. (Gov’t Ex. 5.)

     On April 13, 2011, DEA TFOs conducted physical surveillance of the River Rouge

residence and observed the red Lincoln Aviator parked on the street. The TFOs installed

a GPS device on the red Lincoln Aviator, allowing them to monitor its movements. (Gov’t

Ex. 6.)

     Thus, before the installation of any GPS device on any of the three vehicles, officers

had information from a CS that the River Rouge home was used by D-1 and members of

his drug trafficking organization, had information that D-1 used a red Lincoln Aviator to

deliver drugs, had physically observed D-1 driving the red Lincoln Aviator, had physically

observed the red Lincoln Aviator and a silver Chrysler Sebring at the River Rouge home,

had overheard the D-1 tell the CS where to go to obtain a heroin sample from his

“associate,” had physically observed the CS and an undercover officer obtain a heroin



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sample from D-2 who arrived at the designated location driving a silver Chrysler Sebring

that was previously observed by officers at the River Rouge home.

      On April 13, 2011, after the GPS device had been installed on the red Lincoln Aviator,

the CS called TFO Murray and told him that D-1 and two other people were supposed to

pick up drugs the following day, April 14, 2011; that there would be two vehicles; that one

vehicle likely would be the red Lincoln; and that D-1 would not be in the car with the drugs.

(Gov’t Ex. 7.)

      On April 14, 2011, DEA TFOs used the GPS device on the red Lincoln Aviator and the

location information from Phone-1 to monitor their movements. It was determined that

Phone-1 and the Lincoln had traveled to Chicago, and were now returning the same day

to the Detroit area and traveling in close proximity of each other. (Gov’t Ex. 8.) The DEA

TFOs conducted physical surveillance on I-94 near Chelsea, Michigan and observed the

red Lincoln Aviator occupied by one male headed eastbound. They followed the Lincoln.

TFO Murray requested assistance by the Michigan State Police to conduct a traffic stop,

and the red Lincoln Aviator was stopped after a traffic violation had occurred. (Id.) The

driver and sole occupant of the Lincoln was D-3 (the only Defendant who has not filed a

motion to suppress). D-3 consented to a search, and the police located over two kilograms

of heroin in the red Lincoln Aviator. D-3 was taken into custody. (Id., ¶¶ 6, 7.)

      The location information provided by Phone-11 showed that it continued on to

Romulus, Michigan. (Id., ¶ 8.)



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   TFO Murray had obtained a search warrant for location information of a cellular phone
used by D-1 on two additional occasions – April 25, 2011 and May 27, 2011. (Gov’t Exs.
19, 20.)

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     On May 1, 2011, TFO Murray received information from the CS that D-2 and D-3 were

using a Hertz rental vehicle to conduct narcotics transactions. (Gov’t Ex. 9.) The CS

provided a license plate that, when queried, came back to a Mazda registered to Hertz

Vehicles LLC. The CS also told TFO Murray that D-2 and D-3 would leave the Chrysler

Sebring without any license plate parked at a Sterling Heights apartment complex and then

take the Hertz rental car. (Id.)

     On May 2, 2011, TFOs observed the silver Chrysler Sebring in a public parking lot at

an apartment complex located at 14 Mile and Ryan in Sterling Heights and installed a GPS

device on the Sebring. (Gov’t Ex. 10.)

     On May 8, 2011, TFOs observed a black Mazda at the Bristol Village Apartment

complex in Sterling Heights, Michigan and installed a GPS tracker on that vehicle. (Gov’t

Ex. 11.)

     On May 9, 2011, DEA TFOs conducted physical surveillance of a meeting with the

CS, D-2, and D-3 in the parking lot of the Bristol Village Apartments in Sterling Heights,

Michigan. The officers observed a black Mazda occupied by two Hispanic males drive into

the apartment complex and then park in the street in front of an apartment building in that

complex. They observed the two Hispanic males exit the vehicle. D-2 was identified as the

driver, and D-3 was identified as the passenger. (Gov’t Ex. 12.) The CS met with D-2 and

D-3 near the street. After speaking for about 5 to 10 minutes, the CS shook hands with D-2

and D-3. D-2 and D-3 then walked across the street and got into a parked/unoccupied

silver Sebring with no license plate. (Id.) D-2 and D-3 then left the apartment complex in

the silver Sebring. The CS then entered the black Mazda, drove it to where the officers had



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directed him, and showed the officer’s where D-2 had placed the heroin sample in the

Mazda. The heroin field-tested positive for heroin. (Id.)

     On May 10, 2011, the CS called D-1, discussed the heroin sample, and asked what

price he should charge. (Gov’t Ex. 13.)

     On May 16, 2011, DEA TFOs conducted physical surveillance of the River Rouge

home and D-1, D-2, and D-3. They observed the Chrysler Sebring leave that residence

with D-1 as the driver and D-2 as the passenger. They observed the Sebring at Chase

Bank on Verner in Detroit and observed D-3 get into the driver’s seat and drive east on

Verner to a Market on Vernon in Detroit, Michigan. (Gov’t Ex. 14.) TFO Murray then

observed D-2 walking east on Verner towards the La Fiesta Market and entering the

Sebring. The Sebring exited the parking lot with D-1, D-2, and D-3 in the Sebring. (Id.)

Through electronic GPS monitoring, the Sebring was observed traveling from Verner in

Detroit to the Oak Park, Michigan home of Oday Khalasawi. The officers’ continued

surveillance was conducted both physically and with the aid of the GPS tracker on the

Sebring. (Id.)

     On July 6, 2011, based on information from the CS that D-1 and D-2 had received a

cocaine shipment, DEA TFOs conducted physical surveillance of the River Rouge

residence. (Gov’t Exs. 15, 16.) The officers physically observed D-3 digging a hole in the

back yard with D-1 and D-2 watching. They observed D-2 reach into the hole and retrieve

a black brick-shaped object that he then took inside the residence. Later, they observed

D-2 come back outside and retrieve an unknown object in a black plastic bag out of the

hole and back into the residence. (Gov’t Ex. 15.)



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       On July 7, 2011, TFO Murray obtained a search warrant for the River Rouge

residence. (Gov’t Ex. 16.) In his supporting affidavit, TFO Murray outlined the many facts

of the investigation, including those described above. (Id.)

       On July 8, 2011, DEA TFOs executed the search warrant at the River Rouge

residence. D-1, D-2, and D-3 were the only three occupants of the residence at the time

of the search. The officers found, in the home and buried in the backyard, multiple assault-

style firearms and cell phones that contained pictures of these Defendants holding the

firearms. (Gov’t Ex. 17.)

       On July 21, 2011, as part of an independent investigation, DEA Special Agent (SA)

Edward Moore had received information from a different confidential source (CS-2).2 CS-2

told SA Moore that Oday Khalasawi told CS-2 that he was selling kilogram-quantities of

cocaine out of his home and wanted to know if CS-2 was interested in buying a kilogram

from him. CS-2 and Khalasawi agreed that CS-2 would buy two kilograms of cocaine from

him and would meet him at his Oak Park residence. (Gov’t Ex. 18.) SA Moore and other

officers conducted physical surveillance of the Oak Park residence and observed CS-2's

vehicle park in the driveway and later depart. The officers also observed D-2 arrive at the

Oak Park residence in a silver Town and Country minivan, exit the driver’s seat, and enter

the residence. Minutes later, they observed D-1 and D-3, along with Khalasawi and D-2,

exit the front door of the Oak Park residence. D-2 got in the driver’s side of the minivan

and D-3 got in the passenger’s seat. D-1 got in the driver’s seat of a silver Sebring that



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    SA Moore and TFO Murray are both within the DEA’s Detroit Field Division but were
in separate groups – SA Moore was in Group 14 and TFO Murray was in Group 8 – and
were conducting separate investigations.

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was parked near the residence and Khalasawi got in the passenger’s seat of the Sebring.

Both vehicles then left in tandem traveling first west on Leroy Street and then southbound

on Wyoming Street. An Oak Park scout car pulled over the silver Sebring on 8 Mile and

Wyoming in Detroit and another Oak Park scout car pulled over the silver minivan at

Northfolk and Wyoming in Detroit, Michigan. (Id.) In the minivan occupied by D-2 and D-3,

officers found approximately two kilograms of cocaine.

II.   Analysis

      On August 4, 2011, a grand jury returned the indictment against all three Defendants.

This matter is now before the Court on D-1's and D-2's motions to suppress evidence, and

the government’s motion to allow fingerprinting.          The Court first addresses the

government’s motion.

      A. Government’s Motion to Allow Fingerprinting

      Because the government’s motion to allow for fingerprinting is well-founded and for

the reasons stated at the March 20, 2012 hearing, the government's motion is GRANTED

with the understanding that the government will attempt to comply with D-1's request for

the use of a pseudonym.

      B. D-1's and D-2's Motions to Suppress

      D-1 and D-2 argue that, because the government placed GPS devices on three

vehicles – the red Lincoln Aviator, the silver Chrysler Sebring, and the rented Hertz black

Mazda – that they “used,” either as a driver or a passenger, without first obtaining a search

warrant, all evidence seized as a result of information obtained from those three GPS

devices violated their Fourth Amendments rights and thus should be suppressed.

Specifically, D-1 seeks suppression of (1) all items seized during the execution of a search

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warrant for the River Rouge residence on July 8, 2011, including items seized from the

Chrysler Sebring parked in the back yard of that residence; (2) all information received from

D-1's Cell Phone-1 (313-254-6219) and used in conjunction with the GPS device on the red

Lincoln Aviator, although obtained via a March 15, 2011 search warrant; (3) all physical

evidence seized from the red Lincoln Aviator driven by D-3 on April 14, 2011, including over

two kilograms of heroin; and (4) all evidence, in any form, obtained by use of the GPS

devices on the red Lincoln Aviator, the silver Chrysler Sebring, or the rented black Mazda.

(D-1's Mot., Ex. 1 at 7-9.) D-2 adopts D-1's arguments and further argues that, because

it is impossible for the government to untangle the information gleaned from the

unwarranted use of the three GPS devices and the actions taken by law enforcement in

their investigation, all evidence seized after attachment of those devices, including the July

8, 2011 search of the River Rouge residence and the July 21, 2011 search of a silver Town

and Country minivan driven by D-2, should be suppressed.

     The government responds that Defendants’ motions to suppress should be denied

because (1) Defendants do not have a legitimate expectation of privacy in three vehicles

at issue here – the red Lincoln Aviator, the silver Chrysler Sebring, and the rented black

Mazda; (2) even if Defendants did have standing to challenge any search, i.e., monitoring

of the movement of those vehicles, any search was reasonable under the Fourth

Amendment; and (3) the evidence at issue here, including the kilograms of heroin found

in the red Lincoln Aviator driven by D-3 and the kilograms of cocaine found in another

vehicle that did not have a GPS device attached to it, would have inevitably been obtained

by law enforcement independent of any monitoring of the three vehicles that did have GPS

devices attached to them.

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      The Court begins its analysis by acknowledging the United States Supreme Court’s

 recent decision in United States v. Jones, ___ U.S. ____, 132 S. Ct. 945, 948-49 (2012),

 holding that the government’s attachment of a GPS device to a vehicle used exclusively

 by the defendant and registered to his wife, “and subsequent use of that device to monitor

 the vehicle’s movements on public streets, constitutes a search . . . within the meaning of

 the Fourth Amendment.”       As a magistrate judge recently observed, “the point of

 disagreement with [Justice Alito’s] concurring opinion in Jones was the re-emergence of

 a trespass theory for Fourth Amendment searches rather than application of existing

 reasonable expectation of privacy doctrine.” United States v. Hanna, No. 11-20678-CR,

 2012 WL 279435, at *3 (S.D. Fla. Jan. 30, 2012). Specifically, “five members of the Court

 concluded that Justice Scalia’s trespass theory did not form a sufficiently comprehensive

 analysis of the Fourth Amendment implications of GPS monitoring and argued that GPS

 monitoring should also (in the case of Justice Sotomayor) or only (in the case of Justice

 Alito) be analyzed to determine whether it has invaded a reasonable expectation of

 privacy.” Id. at *4.

      With Jones in mind, this Court now examines whether the searches and seizures that

 produced the evidence that Defendants now seek to suppress violated the Fourth

 Amendment. At issue are: (1) the April 14, 2011 automobile search consented to by D-3,

 the driver of the red Lincoln Aviator, and the resulting seizure of over two kilograms of

 heroin; (2) the July 8, 2011 search of the River Rouge residence, and the evidence seized

 from that residence; and (3) the July 21, 2011 search of a silver Town and Country minivan,

 and the resulting seizure of two kilograms of cocaine. The Court addresses each in turn.

 Doing so, it rejects Defendants’ argument that it is impossible to untangle the information

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 gleaned from the three GPS devices (searches) from the April 14, 201l, July 8, 2011, and

 July 21, 2011 searches and seizures that produced the evidence that D-1 and D-2 seek to

 suppress.

      A. April 14, 2011 Consented Search and Subsequent Seizure of Heroin

      A defendant can object to a search only if he has standing. See, e.g., United States

 v. Davis, 430 F.3d 345, 359-60 (6th Cir. 2005). Moreover, the defendant “bears the burden

 of establishing Fourth Amendment standing.” United States v. Pino, 855 F.2d 357, 360 (6th

 Cir. 1988). “[A] defendant has standing to challenge the admission of evidence only if the

 defendant’s own constitutional rights have been violated;” and “[i]n cases involving Fourth

 Amendment violations, [courts] determine standing by deciding whether a defendant can

 establish a ‘legitimate expectation’ of privacy in the area searched or the items seized.”

 Davis, 430 F.3d at 359-60 (citations omitted). In multi-defendant cases, each defendant’s

 standing is analyzed independently. See United States v. Mastromatteo, 538 F.3d 535,

 544 (6th Cir. 2008) (observing that “[a] defendant’s standing is determined independently

 from his co-defendant’s standing with regard to the same items and places that are

 searched.”) Moreover, in the context of an automobile search, the Sixth Circuit held that

 the defendant did not have standing to object to evidence obtained by law enforcement

 officers during the search of a car that he did not own and in which he was neither the

 driver nor a passenger. See United States v. Elmore, 304 F.3d 557, 558, 560-61 (6th Cir.

 2002). See also United States v. Marquez, 605 F.3d 604, 609 (8th Cir. 2010) (holding that

 the defendant passenger lacked standing to challenge the placement of a GPS tracking

 device on a vehicle that he "neither owned nor drove" but rather "was only an occasional

 passenger therein.").

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      Because neither D-1 nor D-2 have established that they owned or had a reasonable

 expectation of privacy in the red Lincoln Aviator that was occupied solely by D-3 on April

 14, 2011, they lack standing to challenge the consented-to search that resulted in the

 seizure of over two kilograms of heroin and D-3's arrest that day. First, the red Lincoln

 Aviator was not registered to D-1 or D-2; and, unlike the defendant in United States v.

 Jones, 132 S. Ct. 945, 949 n.2 (2012), neither can establish that they were an “exclusive

 driver” of that Lincoln Aviator. Thus, unlike the defendant in Jones, D-1 and D-2 cannot

 persuasively argue that “[t]he Government usurped [their] property for the purpose of

 conducting surveillance on [them], thereby invading privacy interests long afforded, and

 undoubtedly entitled to, Fourth Amendment protection.”         Jones, 132 S. Ct. at 954

 (Sotomayor, J., concurring).

      This Court also rejects Defendants’ argument that, because they sometimes used the

 Lincoln Aviator, they had a reasonable expectation of privacy in that vehicle at all times.

 That would be similar to the defendant in Katz v. United States, 389 U.S. 347 (1967),

 arguing that he had a reasonable expectation of privacy in someone else’s wiretapped

 conversation in a public telephone booth simply because he sometimes used that public

 telephone booth, along with two other telephone booths. Defendants’ argument turns the

 holding in Katz on its head. “What mattered, the [Katz] Court . . . held, was whether the

 conduct at issue ‘violated the privacy upon which [the defendant] justifiably relied while

 using the telephone booth.’” Jones, 132 S. Ct. at 960 (Alito, J., concurring) (quoting Katz,

 389 U.S. at 353). Applying Katz to the facts presented here, it is Defendants’ reasonable

 expectation of privacy in their movements, not merely the movements of a vehicle they

 sometimes used, that triggers Fourth Amendment protections. Although D-1 was observed

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 using the red Lincoln Aviator on April 11, 2011, he was not using the vehicle when the GPS

 device was placed on it. Rather, the TFOs installed the GPS device on that vehicle after

 they saw it unoccupied and parked on the street near the River Rouge residence that they

 were observing for reported drug activity. More importantly, neither D-1 nor D-2 was

 driving the red Lincoln Aviator on April 14, 2011 when the traffic stop and search occurred

 that produced the kilograms of heroin that these Defendants seek to suppress.

      Rather than ownership or exclusivity, the record evidence establishes that D-1 drove

 the red Lincoln Aviator one time – on April 11, 2011 – , a few days before the GPS device

 was attached. It further establishes that the GPS device was installed on the red Lincoln

 Aviator only one day before the April 14, 2011 traffic stop, consented-to search, and

 seizure. Moreover, as established by testimony at the March 20, 2012 hearing, the GPS

 device on the red Lincoln Aviator was removed within hours of the April 14, 2011 traffic

 stop. Thus, even if Defendants could establish that they had standing to challenge the April

 14, 2011 search and seizure of the red Lincoln Aviator, the one-day monitoring of that

 vehicle constituted a reasonable search. As Justice Alito observed in his concurring

 opinion in Jones, “relatively short-term monitoring of a person’s movements on public

 streets accords with expectations of privacy that our society has recognized as

 reasonable.” Id. at 964.

      For the above stated reasons, D-1's and D-2's motions to suppress the kilograms of

 heroin seized on April 14, 2011 are denied.3


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       In light of the Court’s decision, it is unnecessary to consider the government’s
 additional arguments that (1) monitoring of all three vehicles was reasonable and thus did
 not violate the Fourth Amendment; and (2) independent of any use of the GPS device on
 the Lincoln Aviator, the officers inevitably would have discovered the kilograms of heroin

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       To the extent D-1 and D-2 argue that they have standing to challenge the placement

 of a GPS device on the red Lincoln Aviator, the silver Chrysler Sebring, or the rented black

 Mazda and the monitoring of their movements as an unreasonable search, this Court

 rejects those arguments. Neither of these Defendants has presented evidence showing

 either an ownership or contractual interest in any of these vehicles or exclusivity of use

 such that would give rise to a legitimate expectation of privacy.4

       B. July 8, 2011 Execution of Search Warrant at River Rouge Residence

       D-1 and D-2 also seek to suppress all evidence seized as a result of the execution of

 a search warrant at the River Rouge residence on July 8, 2011. They argue that, because

 it is impossible to untangle the information gleaned from the three GPS devices that

 supported that search warrant, all seized evidence is tainted and must be suppressed. The

 government responds that, even if Defendants established that placing the GPS devices



 in that vehicle because officers were monitoring the movements of Phone-1, made physical
 observations of the vehicle on the highway, had the license plate of the Lincoln Aviator thus
 allowing for physical monitoring, and relied on information from CS-1.
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    At the March 20, 2012 hearing, these Defendants argued that, because the government
 placed a GPS device on every vehicle available to them, they had a legitimate expectation
 of privacy, not in the three vehicles at issue here but rather in the totality of their
 movements on the roadways over an extended period of time. The Court rejects that
 argument for the following reasons. First, Jones did not go this far, and Defendants cite
 no binding decision that does. Second, the facts presented do not support Defendants'
 claim. The testimony at the suppression hearing failed to establish that there was a GPS
 device on the silver Chrysler Town and Country minivan driven by D-2 during the July 21,
 2011 traffic stop where the kilograms of cocaine were seized. Moreover, rather than
 exclusivity of use, the evidence presented shows that Defendants 1, 2, and 3 used the
 three vehicles at issue here, and other vehicles, interchangeably. In fact, there is evidence
 that a CS was allowed to drive the rented black Mazda. (Gov't Ex. 12.) Finally, as the
 testimony at the hearing established, although the GPS device was on the silver Sebring
 for about two months, a GPS device was on the red Lincoln Aviator for two days at the
 most and was on the rented black Mazda for only "a few days."

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 on the vehicles and subsequent monitoring of their movements constituted an

 unreasonable search, the evidence seized from the River Rouge residence search should

 not be suppressed because it would have inevitably been discovered by independent

 investigation – namely information from CS-1, monitoring of location information from cell

 Phone-1, and physical surveillance of that residence and Defendants’ connections with that

 residence. This Court agrees with the government. Even if it were established that

 monitoring of the movements of the Lincoln Aviator, Chrysler Sebring, and rented black

 Mazda via the GPS devices attached to them constituted an unreasonable search,

 exceptions to the exclusionary rule apply, and the evidence seized as a result of the July

 8, 2011 search should not be suppressed.

      Defendants’ motions to suppress are based on the exclusionary rule, and the

 government’s opposing arguments are based on two exceptions to the exclusionary rule:

 the inevitable discovery and independent source doctrines. The Court thus examines

 whether those exceptions apply here.

      The Sixth Circuit recently discussed both exceptions. The independent source

 doctrine “rests on the proper balance to be struck between the interests of society in

 deterring unlawful police conduct and the public interest in having juries receive all

 probative evidence of a crime.” United States v. Howard, 621 F.3d 433, 451 (6th Cir. 2010)

 (internal quotation marks and citations omitted), cert. denied, 131 S. Ct. 1623 (2011). “The

 exclusionary rule should put[ ] the police in the same, not a worse, position tha[n] they

 would have been in if no police error or misconduct had occurred.” Id. (internal quotation

 marks and citations omitted).        “Accordingly, where challenged evidence has an

 independent source, exclusion of such evidence would put the police in a worse position

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 than they would have been in absent any error or violation.” Id. (internal quotation marks

 and citations omitted).

      The inevitable discovery doctrine “is an extrapolation from the independent source

 doctrine.” Id. (internal quotation marks and citation omitted). “As the Supreme Court has

 described the doctrine, ‘[s]ince the tainted evidence would be admissible if in fact

 discovered through an independent source, it should be admissible if it inevitably would

 have been discovered.’” Id. (quoting Murray v. United States, 487 U.S. 533, 539 (1988)

 (emphasis in original)). “In other words, “if the government can prove that the evidence

 would have been obtained inevitably and, therefore, would have been admitted regardless

 of any overreaching by the police, there is no rational basis to keep that evidence from the

 jury in order to ensure the fairness of the trial proceedings.’” Id. (quoting Nix v. Williams,

 467 U.S. 431, 447 (1984)). It is the government’s burden to establish that any “tainted

 evidence would have been discovered by lawful means.” United States v. Alexander, 540

 F.3d 494, 502 (6th Cir. 2008) (internal quotation marks and citations omitted). The

 government satisfied its burden here.

      The evidence presented to the Court shows that, before the installation of any GPS

 device on any of the three vehicles at issue here, law enforcement officers had information

 from a CS that the River Rouge home was used by D-1 and members of his drug trafficking

 organization, had information that D-1 used a red Lincoln Aviator to deliver drugs, had

 physically observed D-1 driving the red Lincoln Aviator, had physically observed the red

 Lincoln Aviator and silver Chrysler Sebring at the River Rouge home, had overhead D-1

 tell the CS where to go to obtain a heroin sample from his “associate,” had physically

 observed the CS and an undercover agent obtain a heroin sample from D-2 who arrived

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 at the designated location driving a silver Chrysler Sebring that was previously observed

 by officers at the River Rouge home. Thus, before any monitoring information was

 obtained from any GPS, law enforcement officials had independent information (1) that the

 River Rouge residence was being used for drug trafficking, (2) tying D-1 to that River

 Rouge residence and drug trafficking, and (3) tying the red Lincoln Aviator and silver

 Chrysler Sebring to that residence and drug trafficking.

      After GPS devices had been installed on the vehicles at issue here, law enforcement

 officers continued to obtain information from independent sources that D-1 and D-2 were

 engaged in drug trafficking activity at the River Rouge residence. Specifically, on July 6,

 2011, law enforcement officers received information from the CS that D-1 and D-2 had

 received a cocaine shipment. Based on that information, DEA TFOs conducted physical

 surveillance of the River Rouge residence and physically observed D-3 digging a hole in

 the back yard with D-1 and D-2 watching. They observed D-2 reach into the hole and

 retrieve a black brick-shaped object that he then took inside the residence. Later, they

 observed D-2 come back outside and retrieve an unknown object in a black plastic bag out

 of the hole and take it back into the residence. Officers were also monitoring location

 information from Defendants’ cell phones (pursuant to search warrants). On July 7, 2011,

 TFO Murray obtained a search warrant for the River Rouge residence using these and

 other facts and executed that search on July 8, 2011. D-1, D-2, and D-3 were the only

 three occupants of the River Rouge residence at the time of the search. Among the items

 seized by the officers, from the home and buried in the backyard, were multiple assault-

 style firearms and cell phones that contained pictures of these Defendants holding the

 firearms.

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       Ignoring the monitoring information obtained by the GPS devices, probable cause

 existed to search the River Rouge residence. Because the evidence seized from that

 residence during the July 8, 2011 execution of the search warrant inevitably would have

 been discovered absent use of any GPS monitoring, Defendants' motions seeking to

 suppress this evidence are denied. As set forth below, the same is true of the evidence

 seized on July 21, 2011.5

       C. July 21, 2011 Search of Town & Country Minivan Driven by D-2

       To the extent D-1 or D-2 argues for suppression of the kilograms of cocaine seized

 as the result of a traffic stop and search of a silver Town and Country minivan driven by D-2

 on July 21, 2011, that argument also fails. First, there was no GPS monitoring device on

 the Town and County minivan that D-2 was driving. Moreover, even if the Court were to

 accept Defendants’ arguments that there was an unreasonable search with regard to the

 GPS monitoring of the Lincoln, the Sebring, and the Mazda, the same two exceptions to

 the exclusionary rule discussed above – the inevitable discovery and independent source

 doctrines – apply here.

       On July 21, 2011, as part of an independent investigation, DEA Special Agent (SA)

 Edward Moore had received information from a different confidential source (CS-2). CS-2


   5
    In light of the Court's decision, it is unnecessary to consider the government's additional
 argument that, because the use of a GPS device on a vehicle without first obtaining a
 search warrant was a widely-accepted practice in the police community that had not been
 held unconstitutional by the Sixth Circuit Court of Appeals, the Leon good faith exception
 to the exclusionary rule would apply. If this Court were to consider this additional
 argument, it would find it persuasive. As the United States Supreme Court recently held
 in United States v. Davis, ___ U.S. ___, 131 S. Ct. 2419, 2423-2424 (2011), "[b]ecause
 suppression would do nothing to deter police misconduct in these circumstances, . . .
 searches conducted in objectively reasonable reliance on binding appellate precedent are
 not subject to the exclusionary rule." Id. at 2423.

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 told SA Moore that Oday Khalasawi told CS-2 that he was selling kilogram-quantities of

 cocaine out of his Oak Park home and wanted to know if CS-2 was interested in buying a

 kilogram from him. CS-2 and Khalasawi agreed that CS-2 would buy two kilograms of

 cocaine from him and would meet him at his Oak Park residence. (Gov’t Ex. 18.) SA

 Moore and other officers conducted physical surveillance of the Oak Park residence and

 observed CS-2's vehicle park in the driveway and later depart. The officers also observed

 D-2 arrive at the Oak Park residence in a silver Town and Country minivan, exit the driver’s

 seat, and enter the residence. Minutes later, they observed D-1 and D-3, along with

 Khalasawi and D-2, exit the front door of the Oak Park residence. D-2 got in the driver’s

 side of the minivan and D-3 got in the passenger’s seat. D-1 got in the driver’s seat of a

 silver Sebring that was parked near the residence and Khalasawi got in the passenger’s

 seat of the Sebring. Both vehicles then left in tandem traveling first west on Leroy Street

 and then southbound on Wyoming Street. An Oak Park scout car pulled over the silver

 Sebring on 8 Mile and Wyoming in Detroit and another Oak Park scout car pulled over the

 silver minivan at Northfolk and Wyoming in Detroit, Michigan. (Id.) In the minivan occupied

 by D-2 and D-3, officers found approximately two kilograms of cocaine.

        The above evidence establishes that the kilograms of cocaine seized from that Town

 and Country minivan during the July 21, 2011 traffic stop and search inevitably would have

 been discovered absent use of any GPS monitoring on the three vehicles with devices.

 According, Defendants' motions to suppress this evidence are denied.

 III.   Conclusion




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      For the above stated reasons, the government’s motion to allow fingerprinting [40] is

 GRANTED; and Defendants Luna-Santillanes's and Zimiri Jimenez's motions to suppress

 evidence [38, 39] are DENIED.



      SO ORDERED.

                s/Nancy G. Edmunds
                Nancy G. Edmunds
                United States District Judge

 Dated: March 26, 2012

 I hereby certify that a copy of the foregoing document was served upon counsel of record
 on March 26, 2012, by electronic and/or ordinary mail.

                s/Carol A. Hemeyer
                Case Manager




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